Case 1:16-cv-01580-CMH-JFA Document 136 Filed 11/07/17 Page 1 of 3 PageID# 7948



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

  HALOZYME, INC.

                         Plaintiff                   Civil Action No. 1:16-CV-01580 (CMH/JFA)

          v.

  JOSEPH MATAL,
  performing the functions and duties of Under
  Secretary of Commerce for Intellectual
  Property and Director of the United States
  Patent and Trademark Office,

                         Defendant.


                    DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
                  “TO BRING TECHNOLOGY AND USE IT DURING TRIAL”

          Pursuant to the Local Rules of this Court, defendant, Joseph Matal, performing the

 functions and duties of Under Secretary of Commerce for Intellectual Property and Director of

 the United States Patent and Trademark Office, in his official capacity, respectfully provides this

 response to plaintiff Halozyme, Inc.’s (“Halozyme”) motion “to bring technology and use it

 during trial.”

                                             RESPONSE

         In its motion, Halozyme, Inc. seeks this Court’s authorization for its four attorneys to

 “bring laptop computers and smartphones . . . to the trial in this matter,” and to use that

 technology through the “Court’s Evidence Presentation System.” Mot. (Dkt. No. 132), at 1.

 Although Defendant takes no formal position on Halozyme’s requested relief, it is counsel’s

 understanding that this Court generally does not authorize the use of computer-assisted

 technology during trial. Should this Court be inclined to authorize the use of such technology at
Case 1:16-cv-01580-CMH-JFA Document 136 Filed 11/07/17 Page 2 of 3 PageID# 7949



 trial in this action, however, defendant would request an identical ability to bring and utilize its

 own laptop computers and smartphones.



                                                Respectfully submitted,

                                                DANA J. BOENTE
                                                UNITED STATES ATTORNEY

                                        By:     ______/s/___________________
                                                DENNIS C. BARGHAAN, JR.
                                                Deputy Chief, Civil Division
                                                Assistant U.S. Attorney
                                                U.S. Attorney’s Office
                                                2100 Jamieson Avenue
                                                Alexandria, Virginia 22314
                                                Telephone: (703) 299-3785
                                                Fax: (703) 299-3983
                                                Email: dennis.barghaan@usdoj.gov

 DATE: November 7, 2017                         ATTORNEYS FOR DEFENDANT

 OF COUNSEL:

 Frances M. Lynch
 Amy Nelson
 Kakoli Caprihan
 Associate Solicitors
 United States Patent & Trademark Office
Case 1:16-cv-01580-CMH-JFA Document 136 Filed 11/07/17 Page 3 of 3 PageID# 7950



                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
 Court using the CM/ECF system, which will send a notification of such filing (“NEF”) to the
 following:

                                    Joshua D. Rogaczewski
                               MCDERMOTT WILL & EMERY LLP
                                  500 North Capitol Street NW
                                    Washington, DC 20001
                                 Email: jrogaczewski@mwe.com


 Date: November 7, 2017                        ___/s/___________________________
                                               DENNIS C. BARGHAAN, JR.
                                               Deputy Chief, Civil Division
                                               Assistant U.S. Attorney
                                               2100 Jamieson Avenue
                                               Alexandria, Virginia 22314
                                               Telephone: (703) 299-3785
                                               Facsimile: (703) 299-3983
                                               Email: dennis.barghaan@usdoj.gov

                                               ATTORNEYS FOR DEFENDANT
